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                         IN TIIE UNIm STATES DISTRICT COURT
                                      FOR THE DISTRICT OF HAWAII

      KELI'Iへ ● NA,̀rα ′              ,
                                                      Casc l:15‐ CV‑00322‐ Jヽ IS‐ BNIIC


                P′   αj72″ 萌お,


                                                      DECLARAT10N OF IAMUEL L
                                 V.                   КコALOHA,JR


       STA¶ [OF HAWAII,̀rα ′
                           。              ,




               Dリセ滋滋れlS,

                 and

       SAMUI'LL KEALOHA,JR.,ι ″α′              .,




                れた″ οr― D̀ル れ′αれた
                        ̀れ


                                 DECLARAflON OF SAMUEL L. KE/TLOHA' JR.

              SIAMUEL L. KB,qLoHA, JR,, pursuant to 28 U.S.C. $ 1746' unr er
                                                                                     penalty of

       pe{ury, and deposes and says as follows:

              L I amone of theparties attempting tOifltervene in the abovo-ca1:,tioned:ntatter.

              ll.,I amaU.S, Army Vietnam-Era veteran who served in Vietnalr , lstCtrv' 2-5'

              li, I am a "native Hawaiian" as defined in Section 201(a) of the Hawaiian

       Homes Commission Act, in that I am a descendant Of not less than o r.e-half part of

       the bloid of the races inhabiting the Hawaiian Islands previous to 1i' ;r8'

              a, In 1977, I applied for and been determined by the Departmer t of Ha.wai.ian
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       Home Lands of the State of Hawaii to be qualified to receive a hon astead award

       undertlre Hawaiian Homes Commission Act, made binding upon the S ate of l{awaii

       by the l.itate-Federal Compact in Section 4 of the Hawaii Admission,, .ct.

              -5. I have been on the waiting list ever since,


              6 The reason the State has given for its failure to deliver a holr ostead is that

       they "lt,st" my application,

              7 I have significant cultural, social, and civic connections u, th the uative
       Hawaiirm community.

              ti, My rnain interest is full implementation of the HHCA, rehi, bilitati,)n and

       self-detr,rrminatiou of native Hawaiians, use of $ 5(0 monies to I enefit irattve

       Hawaiir,ms and to settlo the homelands.

              9 I strongly object to the inclusion of Hawaiians having less thaL one-half part

       of the l',lood paflicipating in thc organization of any entrty purportirt I to refi)]resent

       native I lawaiians of the blood.

              I 0. I support the right of native Hawaiians to self-determinatiotr , in Particular


       to thei right to determine for themselves the blood quantum tecessi;,ry for
       member'ship in any native Hawaiian governing entity.

              1 1. My interest is in this case is the concern that the parties here, both the State


       and its r)HA, are not spoaking on behalf of native Hawaiian beneficir ries. They ar.e

       tallcing ,over us. The scheme of undermining the native Hawaiians' in ,orest in $ 5(0

                                                    a
09/22/2015   14:52    180B5535809                       LEGALAID                              PAGE   13/● 4
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       and it boing suhject to comrption has gone on too long. The State canl ? uP wjith this

       charad0 of oHA, and the u.s. has not brouglrt suit against the state for ,reach of tnrst

       under | 5(0. The United States should know the difference betwtl ln ton.gress'

       definiti,:n of native tlawaiian of, 1920, (that the state solemnly accoi ted ih 1959,)

       versus the State's made-up definitioo of 'Hawaiian' in 1978, when it nanufactured

       the OH,{ scheme created to undermine growing native Hawaiian tnte ests irl $ 5(f).

               12.Iarn a brmer OHA mstee,and can provide ths Cou■            aЧ Fり   eⅢtage
       from a native Hawaiian.

               13. As Trustee, I was too often out-voted by "Hawaiian" Eusl ires (hqidle to
                                                                                        ,'t
       native Hawaiians), who sought to benefit themselves and this djl uted clas} of

       "Hawa ians," including their friends, relatives and others who rl,ire not native

       Hawai an, with lucrarive     confracts.                                          l




               14, I have witnessed the State's OHA agency misspend $ 5(fl procer:lrls that


       could lrave been uscd to fund the HHCA.

                5, On December 1, 2001, I along with threo other Intervett ors, Ka Lahui
        Hawair and the Anahola Homesteaders Association filed a complai nt in t1[e U.S.

        Districl Court for the District of Hawaii, Civil No. 0l-817, agains' GaJe lVorton,

        Secret rry of ttre Department of the lnterior, seeking to establish the iight o:[ native

        Hawar atrs to organize themselves into sovereign tribal entities, as 1 rovide J in the

        lndianReorganizationActof 1934,25 U.S,C.,$461 etseg.,butexclu |edfrotndoing
                                                  -3-
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        soby2iC.F.R.$83,'l.
                  t6. On October 13,2005,I along with the other lltervenors fiIr d a colnplaint

                                                                              the U'S' Dirr Lrict Cr>urt for
        agaillsr the Trustees of the Office of tlawaiian Affairs, in

        the Dirirrict of Hawaii, civil No. 05-649 seeki[g to
                                                                           prevent oHA fr,lm expending

                                                                                            to the Jlot le$s
        proceerls of the $ 5(f) trust for the benefit of Hawaiians without regar(,

        than orre-half part of the blood as defined by the IIHCA, based
                                                                                    upon li $ 4 anil 5(f) of


        the Ha,raii Admission Act.

                                                                                                    us brief
                   t7. In January, 2009, I along wittr the othef Interveuors filed l, rr amic

         in the 1 l3ited States Supreme Court in Stare o/ Hawaii v' Office of
                                                                                       Ha vaiian $ffairs'

         No. 0'i -1372.

                   t8.Inthatcase,OHAwasattemptingtopreventttlesaleof$5.,0landsbythe

         Stater,fHawaiipurportedlyontlregroundsofclaimsbynativeHavaiians.[nour

         brief rve took the position that oHA was making claims on behal
                                                                                             of Hawaiians

         withotrt regard to the not less than one-half part blood quantum in th I HHCA
                                                                                                       and $

                                                                                 quantum were r$slrictod
         5(f), arrd that oHA's argumeut was valicl only if the blood

         to not less than one-half Part.

                   19. on March 23, 2011, I along with the olhef Intervenors fi, :d a cclmplaint

                                                                                          (, lut of the First
         agai,nsr ttre Trustees of the office of Hawaiiao Affairs, in the circuit


             Circu t,StateofFlawaii,CivilNo. ll-l-5T5,seekingtopfeventOHA iomexpending

             proce0ds of the $ 5(0 trust for the benefit of Hawaiians without regar I
                                                                                              to tttc' not less

                                                       ‐
                                                           4‐
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        than one-half part of the blood as defined by the HHCA, based upor state larw.

                I declare under penalty of perjury under the laws of ths unite. states tha.t the

        forego lng is tnre and corTect,

               欧 ∝uわ 山 昴二           為     yぴ s申 。前 嘲             珈             ￨=,H製        血
                                                                     孝   鉾
                                                                                                .




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                                                     5‐
